       Case 1:22-cr-00673-LAK          Document 533 Filed 11/01/24 Page 1 of 1
                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      November 1, 2024

By ECF
The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       The Government writes to respectfully request that the Court extend the deadline for its
response to third-party ancillary petitions from the currently scheduled date of November 1, 2024
to January 15, 2025. The Government has been in discussions with the relevant parties in interest.
This extension will allow the parties more time to discuss and potentially facilitate a resolution of
the pending petitions instead of litigation. The Government has communicated with counsel for
Emergent Fidelity Technologies Ltd. (who filed their petition at Dkt. Nos. 446, 447), FTX Trading
Ltd. (Dkt. No. 450), and the MDL Plaintiff class (Dkt. No. 454), all of whom consent to the
extension of this deadline.

        The Government also requests that the applicable deadline for third-party petitions for the
following parties be extended until January 15, 2025: Senate Majority PAC, FF PAC, FF USA
Action, Emily’s List/Women Vote (Women Vote!), and GMI PAC. The Government is continuing
to discuss with these parties the forfeitability of funds these entities received from the defendant
and his co-conspirators.

                                                      Respectfully,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney

                                              By:      /s   Thane Rehn
                                                      Danielle R. Sassoon
                                                      Nicolas Roos
                                                      Danielle Kudla
                                                      Thane Rehn
                                                      Assistant United States Attorneys
                                                      (212) 637-2354
